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           EXHIBIT 5
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       IN RE:

       GOOGLE ANTITRUST INVESTIGATION

       60-516110-0009

       ----------------------------------------




                  **HIGHLY CONFIDENTIAL **



              REMOTE VIDEOTAPED DEPOSITION OF

                       PHILIPP SCHINDLER



                 Wednesday, October 6, 2021

                        8:36 a.m. (PT)




       Reported by:

       Joan Ferrara, RMR, FCRR

       Job No. 2021-813493
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      P. SCHINDLER - HIGHLY CONFIDENTIAL             P. SCHINDLER - HIGHLY CONFIDENTIAL
       whatever you want to do.                       A. Well, I don't have a recollection
           MR. NIERLICH: Whatever is most          of what motivated me to send something to
       convenient for you, that's just fine.       Mr. -- to Sundar over two years ago. Like
           THE WITNESS: Let's take a short         I really don't have that level of memory or
       break and I'll be back in 5 to 10.          capacity. But it touches a lot of the PAs
           THE VIDEOGRAPHER: Off the record        he's responsible for, especially Chrome.
       at 2:51 p.m.                                So I can only guess that I assume that this
           (Recess taken from 2:51 p.m. to         is relevant for him.
        3:02 p.m.)                                     Q. And you understand that at least
            THE VIDEOGRAPHER: Back on the           in part this article is identifying
        record at 3:02 p.m.                         potential difficulties for Google Ad Tech,
            MR. NIERLICH: Seumas, could you         certain Google Ad Tech competitors as a
        upload Document W, please.                  result of privacy changes, is that right?
            (Schindler Exhibit 17, E-mail,             A. That seems to be what the article
        Bates GOOG-DOJ-09442889 to 890,             is implying somewhere towards the end, I
        remotely introduced and provided            think.
        electronically to the reporter.)               Q. And do you believe those concerns
      BY MR. NIERLICH:                              are accurate?
        Q. We'll mark as Exhibit 17 a                  A. Can you describe what those
      document with Document Control Nos.           concerns are a bit more precisely, please?
      GOOG-DOJ-09442889 to 890.                        Q. Sure.
            Have you received that document,               This article says that -- and I'm
      Mr. Schindler?                                referring now towards the end of the
        A. It starts with -- from Philipp,          article -- that changes could be damaging
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       P. SCHINDLER - HIGHLY CONFIDENTIAL            P. SCHINDLER - HIGHLY CONFIDENTIAL
     from me to Sundar, right, on 5/6/2019?        to Google competitors that use cookies or
        Q. That is the document, yes.              resell data collected via cookies to
        A. Yes.                                    companies hoping to better target ads.
        Q. And Mr. Schindler, is this a true              Do you see that?
     and correct copy of an e-mail you will sent       A. Yes, at the end, I see that.
     Mr. Pichai on or around May 6, 2019?              Q. And I'm asking if you agree with
        A. So just reading the header of it,       that assessment from this article?
     it seems like it.                                 A. I'm not sure I would agree with
         Q. Please take whatever time you           that.
      need to review the document, but my              Q. In what way do you disagree?
      question will be, why did you send this          A. Because there is a -- if we
      document on to Mr. Pichai?                    step -- if we step back a little bit, there
         A. Yeah, I would need to have to           is a strong push by privacy regulators
      read it. So give me a minute, please.         across the world, from what I understand,
            Okay. Sorry it look a little            to basically get to a more privacy friendly
      long. It's a long article. Okay, so           ecosystem, or however you want to describe
      what's your question, please?                 it. And they are very -- they're looking
         Q. To restate the question, why did        very closely or have closely signaled, from
      you send this article on to Mr. Pichai?       what I understand, that cookies is not part
         A. Because -- not that I remember          of a privacy friendly ecosystem, or their
      the reason -- it's not that I remember the    understanding of a privacy friendly
      reason at the time. My guess at the           ecosystem.
      moment -- can I guess?                               So if you think about the
         Q. I'd like your best recollection.        long-term and you think about an ecosystem
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     that is healthy over many, many years to               We talked briefly earlier about
     come and privacy regulators are going           potential acquisitions. Is Google
     against the notion of cookies, then you         currently considering any potential
     probably have to think about other means        divestitures with respect to any of
     that are more privacy safe to replace           Google's Ad Tech products or services?
     partially or fully some of the                         MR. MAHR: And again, I'll
     functionality of cookies for players in the        instruct the witness not to respond to
     ecosystem.                                         the question to the extent it requires
            So I feel the privacy advocates              you to reveal anything you've learned
      have a very, very strong voice here. So if         as a result of attorney-client
      privacy regulators exert that level of             communications or attorney work
      pressure on the ecosystem over time, I             product.
      don't think the ecosystem can successfully         A. So this is something, like this
      resist or maybe even should successfully        overall topic that you're raising, I've
      resist that pressure. And you could make        only discussed under privilege. So I
      the case that in the long run in the            wouldn't be comfortable sharing.
      ecosystem is better off by finding                 Q. Okay.
      solutions that are more privacy safe and               So to be clear on the record, are
      work with the approval of the privacy           you declining to answer the question on the
      regulators.                                     basis of privilege?
         Q. Are there any more privacy safe              A. I guess that's the legal way of
      methods that you're specifically thinking       saying this, yes.
      of when you say that?                                  MR. MAHR: You're allowed to
         A. Well, we have -- we have                     decline on the basis of my instruction
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      P. SCHINDLER - HIGHLY CONFIDENTIAL               P. SCHINDLER - HIGHLY CONFIDENTIAL
     introduced technology recently. I'm not            not to respond to the extent it would
     exactly sure the timing, the date -- that          require you to divulge privileged
     is trying to take a first stab at some of          information.
     those things, right. We called it publicly              He's asking you if you will be
     privacy sandbox, and there is a bunch of           following my instruction.
     technologies underneath that I can't               A. Yeah, I will follower Rick's
     explain in all the details,                     instructions, yeah.
                                                        Q. Okay. Then I anticipate that
                                                      Mr. Mahr may have other objections to raise
                                                      as to questions I will be asking. So I
                                                      will ask the questions. And please pause
                                                      for a moment before you respond, in case he
                                                      wishes to do so. And if he doesn't, then I
                                                      would look forward to your answer. And if
                                                      he does, then please let us know whether
                                                      you're following his instruction or not.
                                                      Okay?
                                                         A. Yes, I'll do that.
                                                         Q. Has Google considered any
                                                      divestitures with respect to any of
                                                      Google's Ad Tech products or services
                                                      within the LaSala three years?
       Q. Okay. You can set aside Exhibit                    MR. MAHR: Same objection and
     17. Thank you, Mr. Schindler.                       same instruction. To the extent you
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        can answer without divulging                 Q. Can you expand on that? What do
        privileged information, you're welcome    you mean "that's not how Google operates"?
        to do so. But to the extent                  A. Would you include on the
        responding would require you to           executive level our CEO -- just excuse me
        divulge privileged information, the       for the question, but would you include our
        instruction is not to do so.              CEO, Sundar Pichai?
        A. Yeah, I would follow Eric's               Q. Let's say anyone in the Google
     advice on this one.                          leads group.
         Q. What is Project Sunday?                   A. Yeah, I don't think there is a
             MR. MAHR: Same objection and          specific person that is in charge. This is
         same instruction.                         not our operating structure.
         A. I would follow his instructions
     here as well.
         Q. Who initiated Project Sunday?
             MR. MAHR: I think you can answer
         who initiated the project, if you
         know.                                          So it's very difficult to say who
         A. I'm actually not quite sure about     is actually in charge of something in the
     this.                                        sense of how you defined it.
         Q. Was Project Sunday initiated by          Q. Who was responsible for Project
     someone in the legal department, or in a     Sunday on a day-to-day basis?
     business unit, or otherwise?                       MR. MAHR: I'm going to object
         A. Again, I'm not quite sure about          again and instruct the witness not to
     it. I'm not -- I'm not sure exactly.            answer to the extent it requires him
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       P. SCHINDLER - HIGHLY CONFIDENTIAL         P. SCHINDLER - HIGHLY CONFIDENTIAL
         Q. When did you first learn of            to divulge privileged information.
     Project Sunday?                                    I just note for the record that
         A. I'm not sure I can pinpoint a          the Department has asked us a lot of
     specific date. I don't remember a specific    these questions and we've provided
     date. I mean, it wasn't many, many years      answers in writing. The Department is
     ago, but I don't remember exactly, sorry.     also pursuing, I understand, a
         Q. Okay.                                  30(b)(6) type deposition on this. And
            Can you estimate generally when        because the company is engaging with
      you first learned of Project Sunday?          the Department on these issues, in
         A. No, no, I couldn't. I couldn't          that context I don't think it makes
      come very close.                              sense for Mr. Schindler to be put on
         Q. Who is in charge of Project             the spot in answering these questions
      Sunday on the executive level?                when we can't do the kind of careful
         A. In charge or participating in it?       privileged analysis with each question
      It's very difficult to define what "in        that we can do and are doing in
      charge" means at Google.                      response to those written requests
         Q. Well, to the extent that anyone         that you've made.
      had ultimate responsibility for Project            MR. NIERLICH: Respectfully,
      Sunday on the executive level, was            Mr. Mahr, Mr. Schindler is here for
      ultimately in charge, I'm asking who that     his deposition. We're going to ask
      person was?                                   him questions. We do appreciate that
         A. I would not be able to identify         you may instruct him not to answer and
      that person. That's not how Google            that he may not answer, and if he does
      operates.                                     so, then we will proceed accordingly.
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